                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                        )
                                                )
v.                                              )       NOS. 3:00-00188 & 3:01-00097
                                                )       JUDGE CAMPBELL
KEVIN JERRON COOK                               )

                                         ORDER

      The hearing scheduled for December 30, 2013, on the Petitions (Docket No. 1084 in Case

No. 3:00-00188 and Docket No. 33 in Case No. 3:01-00097) alleging violations of Defendant’s

conditions of Supervised Release is RESCHEDULED for January 9, 2014, at 10:00 a.m.

      It is so ORDERED.

                                                ____________________________________
                                                TODD J. CAMPBELL
                                                UNITED STATES DISTRICT JUDGE




 Case 3:00-cr-00188     Document 1099       Filed 12/20/13    Page 1 of 1 PageID #: 404
